                           Case 1:21-cr-00041-CJN Document 73 Filed 07/14/21 Page 1 of 5
AO 245B (Rev. 09/19)    Judgment in a Criminal Case
                        Sheet 1



                                           UNITED STATES DISTRICT COURT
                                                              District of Columbia
                                                                          )
              UNITED STATES OF AMERICA
                                                                          )
                                                                                  JUDGMENT IN A CRIMINAL CASE
                         V.                                               )
                       Michael Thomas Curzio                              )
                                                                                  Case Number: CR 21-041-2 (CJN)
                                                                          )
                                                                          )       USM Number: 25679-509
                                                                          )
                                                                          )        A. Eduardo Balarezo
                                                                                  Defendant's Attorney
                                                                          )
THE DEFENDANT:
� pleaded guilty to count(s)           4 of the Amended Information filed 1/21/2021
D pleaded nolo contendere to count(s)
  which was accepted by the cow1.
D was found guilty on count(s)
  after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

Title & Section   D                Nature of Offense                                                          Offense Ended             Count
40 § 5104(e)(2)(G)                 Parading, Demonstrating, or Picketing in a Capitol Building                1/6/2021              4




       The defendant is sentenced as provided in pages 2 through         ----
                                                                           5  of this jud            gment.   The sentence is imposed pw-suant to
the Sentencing Reform Act of 1984.
D The defendant has been found not guilty on count(s)
Ill Count(s) -------------
              1-3          Dis                                    � are dismissed on the motion of the United States.

         It is ordered that the defendant must notify the United States attomey for this district within 30 days of any change of name, residence,
or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. Ifordered to pay restitution,
the defenaant must notify the cow1 and United States attomey of material clianges in econormc circumstances.

                                                                                                          7/12/2021
                                                                         Date of Imposition of Judgment




                                                                         Signature of Judge




                                                                                       Carl J. Nichols              U.S. District Judge
                                                                        Name and Title of Judge



                                                                                                            7/14/2021
                                                                         Date




                                                                                                          This page is always included when printing.
Case 1:21-cr-00041-CJN Document 73 Filed 07/14/21 Page 2 of 5
Case 1:21-cr-00041-CJN Document 73 Filed 07/14/21 Page 3 of 5
Case 1:21-cr-00041-CJN Document 73 Filed 07/14/21 Page 4 of 5
Case 1:21-cr-00041-CJN Document 73 Filed 07/14/21 Page 5 of 5
